                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:04-CR-201-MU

UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )                        ORDER
VINTAGE PHARMACEUTICALS,            )
INC., WILLIAM PROPST, SR.,          )
WILLIAM PROPST, JR., and            )
QUALITEST PHARMACEUTICALS, )
INC.                                )
                                    )
      Defendants.                   )
____________________________________)


       THIS MATTER is before the Court on its own Motion. This case is currently scheduled
for the October 3, 2005 trial term. It has come to the Court’s attention that various motions are
outstanding and will necessarily have to be handled prior to this matter proceeding to trial.
Consequently, the Court finds that it is necessary to hold a status conference to ascertain whether
this matter will proceed during the October 3, 2005 trial term.
       IT IS THEREFORE ORDERED that a status conference is hereby scheduled for

August 18, 2005 at 11:00 a.m. in the undersigned’s chambers, Room 230 of the Charles R.
Jonas Federal Building.




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                        Signed: August 5, 2005




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